
37 So.3d 376 (2010)
Aubrey WASHINGTON, Appellant,
v.
STATE of Florida, Appellee.
No. 1D09-3132.
District Court of Appeal of Florida, First District.
June 4, 2010.
Nancy A. Daniels, Public Defender, and Pamela D. Presnell, Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
In this Anders[1] appeal, we affirm the judgment and sentence but remand for correction of an apparent scrivener's error on the order revoking Appellant's probation. The order revoking Appellant's probation states that the court found Appellant in violation of condition four of his probation. The Order of Probation provides that condition four is to "not possess, carry[,] or own any firearm or weapon, unless authorized by the court." This condition was never at issue, and the trial court made no oral pronouncements that Appellant possessed, carried, or owned any firearms or weapons. Rather, the trial court orally pronounced that Appellant violated his probation by possessing marijuana and driving while his license was suspended or revoked, as a habitual offender. This violation relates to the condition requiring him to "live without violating the law." According to the Order of Probation, this condition was number five.
Based on the trial court's oral pronouncements and the substantive requirements of conditions four and five, it is clear that the notation that Appellant violated condition four was merely a scrivener's error. For this reason, we affirm Appellant's judgment and sentence but remand the case to the trial court for correction of the order revoking probation to reflect that Appellant was found guilty of violating the condition requiring him to "live without violating the law."
AFFIRMED and REMANDED.
WOLF, LEWIS, and MARSTILLER, JJ., concur.
NOTES
[1]  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

